                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

DAVID SETH WORMAN, et al.,                    )
                                              )
                                              )
      Plaintiffs,                             ) Case No.: 1:17-CV-10107
                                              )
v.                                            )
                                              )
CHARLES D. BAKER, et al.,                     )
                                              )
                                              )
      Defendants.                             )


                                NOTICE OF APPEARNCE

       Please enter the appearance of Richard P. Campbell, Esquire of Campbell Campbell

Edwards & Conroy, P.C., as counsel for the Plaintiffs David Seth Worman, Anthony Linden,

Jason William Sawyer, Nicholas Andrew Feld, Paul Nelson Chamberlain, Gun Owners’Action

League, Inc., On Target Training, Inc., and Overwatch Outpost.
                                   Respectfully submitted,

                                   /s/ Richard P. Campbell            .
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                                   T. Sky Woodward
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                                   Counsel for Plaintiffs


                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 12th day of April, 2017, this Notice of Appearance was

served, via electronic delivery to Defendants’counsel via CM/ECF system which will forward

copies to Counsel of Record.


                                          /s/ Richard P. Campbell
                                          Richard P. Campbell




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